
OPINION OF THE COURT
FERRO, J.
This appeal follows the entry of an order dismissing the appellant’s complaint with prejudice. We reverse.
The appellant filed a complaint for damages alleging that the appellee had converted funds belonging to the appellant. The trial court dismissed the appellant’s complaint with prejudice. The trial court abused its discretion in failing to give the appellant at least one opportunity to amend his complaint to state a cause of action. Ayers v Home Owners Association of Killearn Estates, 360 So.2d 1326 (Fla. 1st DCA 1978); Affordable Homes, Inc. v Devil’s Run Limited, 408 So.2d 679 (Fla. 1st DCA 1982).
*64Therefore, we reverse and the case is remanded with directions that the appellant be allowed reasonable time to amend his complaint.
CARDONNE and DEAN JJ., concur.
REVERSED.
